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                                     IN THE UNITED STATES DISTRICT COURT
                                   FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                              NORTHERN DIVISION



              DISABILITY RIGHTS MISSISSIPPI,
              LEAGUE OF WOMEN VOTERS OF
              MISSISSIPPI, WILLIAM EARL WHITLEY,                                            3
              MAMIE CUNNINGHAM, and YVONNE
              GUNN,

                                                 Plaintiffs,

                                        v.
                                                                       Civil Action No.
              LYNN FITCH, in her official capacity as
              Attorney General of the State of Mississippi;
              MICHAEL D. WATSON, JR., in his official
              capacity as Secretary of State of Mississippi;
              GERALD A. MUMFORD, in his official
              capacity as Hinds County Attorney; and
              ELIZABETH AUSBERN, in her official
              capacity as Chickasaw County Attorney;

                                                 Defendants.



                                             DECLARATION OF YVONNE GUNN

                     Pursuant to 28 U.S.C. § 1746, I, Yvonne Gunn, declare as follows:

            1.       I am over the age of eighteen, and I am competent to make this declaration. I provide this

                     declaration based upon my personal knowledge. I would testify to the facts in this

                     declaration under oath if called upon to do so.

            2.       I am a Plaintiff in the above-captioned case.

            3.       I am a registered voter, and I have never been convicted of a crime.

            4.       I am 73 years old, an African-American woman, and a resident of Okolona, MS.




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            5.       Prior to my retirement, I worked as a secretary, a computer technician, and a teacher’s

                     assistant. I completed two years of college and earned a certificate in Business.

            6.       Since at least five years ago, I have been helping people in my community register to

                     vote and request and cast absentee ballots if needed. I go door-to-door to remind people

                     to vote and encourage them to register if they have not done so.

            7.       I also educate people in my community about the absentee ballot option if they are

                     elderly, disabled, or lack transportation. If voters need assistance, I offer to help them

                     with requesting absentee ballots. They then call me after they receive their ballot, and I

                     help them with reading and signing if needed. If the voter has trouble returning the mail,

                     I help them with physically placing the ballot in the mail.

            8.       I have assisted approximately twelve voters in Chickasaw County, though some of the

                     people I helped have since passed away.

            9.       One of the voters I assist is Mr. William Whitley, one of the Plaintiffs in this case. He is

                     a veteran with leg amputations. I help him physically place his sealed ballot envelope in

                     the mailbox.

            10.      Another voter I assist is Ms. Mabeline Gates, who is visually impaired and has other

                     special needs as well. Ms. Gates is in a wheelchair and cannot walk. She does not have a

                     car and lives in a nursing home. I help Ms. Gates deliver her sealed ballot envelope to

                     the mailbox. I previously assisted Ms. Gates with her ballot when she was living alone as

                     well. When she first moved into the nursing home, I lost contact with her for some time. I

                     later found out that she was at the nursing home and visited her there. When I

                     reconnected with her, Ms. Gates told me that she was unable to vote during the time that




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                     we had not been in touch and that she had missed an election. I plan to continue assisting

                     Ms. Gates complete and return her absentee ballot in future elections.

            11.      I also assist four siblings—Berniece, Felicia, Valerie and Wendell Huggins—with

                     absentee voting, including helping them understand the instructions for completing and

                     returning their ballots.

            12.      I am trusted by the people that I assist, because they know me from my work at church

                     and at the school where I used to work. I have a good reputation in the community.

            13.      This work is important to me because voting is a powerful act. It is a right that we have,

                     and it is one that we should all exercise.

            14.      Some people cannot vote without help, and I am passionate about helping them do that,

                     because the state makes it too hard for people to vote.

            15.      S.B. 2358 is very harmful, because there are people who live by themselves and are

                     unable to physically go out and vote and unable to fully vote absentee without assistance.

                     Those people deserve to vote, and they deserve help with voting if they need it. Their

                     ability to vote should not depend on whether or not they have family to help them.

            16.      If S.B. 2358 were allowed to take effect, I could not legally help people like Mr. Whitley

                     and Ms. Gates, because I am not their family member, household member, or caregiver.

            17.      I believe that, without my assistance, several of the voters I assist otherwise would not be

                     able to cast their ballot. For example, I know Ms. Gates missed the election when I was

                     not able to help her during one cycle.

            18.      I fear that I would be subject to criminal prosecution and punishment for assisting voters

                     if S.B. 2358 takes effect.




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            I declare under penalty of perjury that the foregoing is true and correct.



            Executed this 30th
                          ___day of May 2023.



                                                                                  ________________________
                                                                                        Yvonne Gunn




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